     Case 1:11-cr-00366-RJA-JJM           Document 111        Filed 06/05/13      Page 1 of 5




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,                            DECISION AND ORDER

v.
                                                     11-CR-00366-RJA-JJM
BRANDON JONAS,
                        Defendant.
____________________________________

               Before me is defendant Brandon Jonas’ request [109] to have his former learned

counsel, Donald Thompson, Esq., appointed as co-counsel to his current appointed counsel,

Matthew Lembke, Esq. For the following reasons, this request is denied, without prejudice to

both counsel agreeing to accept a reduced rate of compensation for their prospective joint

representation of defendant Jonas.



                                        BACKGROUND

               This case was originally commenced only against defendants Misael Montalvo

and Carmen M. Justiniano Ramirez. Indictment [1]. On November 8, 2012, a Superseding

Indictment was returned adding defendants Efrain Hildago and Jonas as defendants [68]. The

Superseding Indictment charges defendants Montalvo, Hildago, and Jonas with two counts of

discharging a firearm causing death in violation of 18 U.S.C. §§924(c)(1)(A)(iii), 924(j)(1), and

(2). It also contains notices of special findings against these defendants pursuant to 18 U.S.C.

§§2591 and 3592.

               At the November 15, 2012 arraignment on the Superseding Indictment, I

appointed trial counsel and learned counsel to represent each of the three death penalty eligible

defendants pursuant to 18 U.S.C. §3005 [75]. At that time, the parties also agreed to a
     Case 1:11-cr-00366-RJA-JJM              Document 111         Filed 06/05/13       Page 2 of 5




Scheduling Order [72], which requires defendants’ pretrial motions to be filed by June 17, 2013.

Id., 2.

                After receiving notification on March 19, 2013, that the government would not be

seeking the death penalty against defendants Montalvo, Hidalgo, or Jonas, I relieved learned

counsel from their assignments [96]. Shortly thereafter, defendants requested re-appointment of

their former learned counsel as co-counsel, and I provided them with an opportunity to make in

camera submissions detailing why continued representation by their former learned counsel was

necessary [97].1 Only defendant Jonas has proceeded with his request to have his former learned

counsel appointed as co-counsel [109].

                In support of this request, Mr. Lembke filed an April 1, 2013 letter in camera and,

at his request, I conducted an in camera proceeding with defendant Jonas and his former and

current counsel on April 22, 2013 [107].



                                              ANALYSIS

                “[O]nce the government has formally informed the court and the defendant of its

intention not to seek the death penalty, the matter is no longer a capital case within the meaning

of §3005 and that section does not require the district court to continue the appointment of a

second attorney.” United States v. Douglas, 525 F.3d 225, 237 (2d Cir.), cert. denied, 555 U.S.

1033 (2008). This does “not preclude a district court, in its discretion, from maintaining the dual

appointment . . . out of a concern for fairness at the trial of a criminal offense”. Id. at 238.


          1
                 The government sought disclosure of Mr. Lembke’s in camera submission. After
providing the parties with an opportunity to brief this issue [99] and having considered their submissions
[100, 105], I denied the government access to the submission [107].

                                                   -2-
     Case 1:11-cr-00366-RJA-JJM                Document 111       Filed 06/05/13       Page 3 of 5




“Deciding when, if ever, the retention of both counsel is necessary in the interest of justice after

the government has announced it will not seek the death penalty is an exercise best left to the

broad discretion of the district court.” Id.

                 In exercising this discretion, courts have looked for guidance to the policy of the

Judicial Conference of the United States, which states that “‘absent extenuating circumstances,’

once the government determines that a prosecution is no longer a potential death penalty case

prosecution, the court ‘should . . . make an appropriate reduction in the number of counsel’ and

‘reduce the compensation rate.’ . . . In determining the existence of ‘extenuating circumstances,’

the Guide suggests the court consider ‘(1) the need to avoid disruption of the proceedings; (2)

whether the decision not to seek the death penalty occurred late in the litigation; (3) whether the

case is unusually complex; and (4) any other factors that would interfere with the need to ensure

effective representation of the defendant.’” United States v. Kendrick, 2013 WL 1896982, *1

(W.D.N.Y.) (Feldman, M.J.), pro se objections overruled, 2013 WL 1896988 (W.D.N.Y. 2013)

(Geraci, J.) (quoting Guide to Judiciary Policy §§630.30.20, 630.30.20(b), 630.30.30)).2

                The Western District of New York’s Criminal Justice Act Plan (revised June 18,

2010) likewise states that:

                “[i]f, following, the appointment of counsel in a capital case, it is
                determined that the death penalty will not be sought, the Court may
                consider the question of the number of counsel and the rate of
                compensation needed for the duration of the proceeding. After
                considering whether the number of counsel initially appointed is


        2
                 The Guide to Judiciary Policy also permits appointment of co-counsel “[i]n an extremely
difficult case where the court finds it in the interest of justice to appoint an additional attorney, each
attorney is eligible to receive the maximum compensation allowable under the CJA.” §230.53.20(a)
(emphasis added).


                                                   -3-
    Case 1:11-cr-00366-RJA-JJM            Document 111         Filed 06/05/13      Page 4 of 5




               necessary to ensure effective representation or to avoid disruption
               of the proceeding, the Court may continue the appointments or
               reduce the number of appointed counsel.

               After considering the need to fairly compensate appointed counsel
               taking into account the commitment of time and resources
               appointed counsel has made and will continue to make, the Court
               may continue to pay the previously approved rate, or prospectively
               reduce the rate.” §XVI(C)(6)(a).

               Mr. Lembke acknowledges that the decision not to seek the death penalty has

come relatively early in this litigation, but argues that defendant Jonas has “developed a trust” in

Mr. Thompson, and that this remains a complex case, both as a result of the substantive charge, a

“federal double homicide”, and due to defendant Jonas’ characteristics [109]. Although I

recognize that this case may be complex, I do not find it to be so unusually complex that the

interests of justice demand two lawyers. Moreover, Mr. Lembke, is a highly capable attorney

who meets “the more stringent qualifications for being assigned capital prosecutions in the first

instance.” Kendrick, 2013 1896982 at *2. Mr. Lembke also acknowledges that he has formed

his “own independent” relationship with defendant Jonas, and that defendant Jonas has also

developed trust with him. Therefore, I conclude that there are no extenuating circumstances to

warrant re-appointment of Mr. Thompson as co-counsel.

               Although I conclude that appointment of co-counsel is not necessary to ensure

that defendant Jonas receives a fair trial, Messrs. Lembke and Thompson proposed at the April

22, 2013 proceeding that they were each willing to accept an unspecified reduced Criminal

Justice Act rate to facilitate Mr. Thompson’s appointment as co-counsel. This proposal, which

stems from their concern for Mr. Jonas, is laudable and recognizes that “[a] substantial element

of appointed counsel’s representation under the Act remains public service”. United States v.


                                                 -4-
    Case 1:11-cr-00366-RJA-JJM            Document 111        Filed 06/05/13     Page 5 of 5




Hildebrandt, 420 F.Supp. 476, 478 (S.D.N.Y. 1976); United States v. Mosley, 779 F.Supp.2d

398, 404 n. 10 (D.N.J. 2011) (“the purpose behind the CJA . . . was always pro bono in nature”).

               While not identical to counsels’ proposal, the Guide to Judiciary Policy permits an

appointed counsel to claim compensation for services furnished by counsel who is not a partner

or associate, within the maximum compensation allowed by the Criminal Justice Act, so long as

they receive prior authorization from the court. §230.53.10(b). Based upon the unique

circumstances of this case, I conclude that counsels’ proposal is acceptable, provided that they

agree to combined compensation equal to the current rate payable to a single capital case counsel

($178.00/hour) under the Criminal Justice Act.



                                         CONCLUSION

               For these reasons, I deny defendant Jonas’ request [109] for appointment of Mr.

Thompson as co-counsel, without prejudice to Messrs. Thompson and Lembke agreeing to

accept a combined hourly capital rate equal to the current rate payable to a single counsel under

the Criminal Justice Act for their prospective joint representation of defendant Jonas.

SO ORDERED.

Dated: June 5, 2013

                                              /s/ Jeremiah J. McCarthy
                                              JEREMIAH J. MCCARTHY
                                              United States Magistrate Judge




                                                 -5-
